      Case
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 5
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 6
                                   UNITED STATES DISTRICT COURT
 7
                                           DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-00347-KJD-CWH
 9
                    Plaintiff,                           [PROPOSED] ORDER TO PROVIDE
10                                                       DOCUMENTATION AND PROGNOSIS
            vs.                                          RELATING TO DR. WETSELAAR
11
     HENRI WETSELAAR, M.D.,
12
                    Defendant.
13

14          BASED UPON THE STIPULATION OF COUNSEL, AND GOOD CAUSE APPEARING

15   THEREFORE, THE COURT HEREBY ORDERS THAT:

16          Dr. Marina Plon, any and all other treating physicians at Desert Springs Hospital, immediately

17   provide Jeffrey B. Setness, attorney for Defendant Dr. Henri Wetselaar, with the medical records

18   relating to Dr. Wetselaar’s current condition and hospitalization. Further, Dr. Plon shall provide a

19   provide brief a written medical opinion if Dr. Wetselaar will be physically able to be present at his

20   trial which is scheduled to commence at 9:00 am on Monday, September 12, 2016. Unless good

21   cause is shown, the copy of the medical records, and the brief summary of Dr. Wetselaar’s ability to

22   attend trial on September 12, 2016, shall be provided to Jeffrey B. Setness, Esq. no later than 4:00 pm

23   on September 8, 2016,

24               8th day of September 2016.
     DATED this ____

25
26                                                     KENT J. DAWSON
                                                       UNITED STATES DISTRICT COURT JUDGE
27

28

        ORDER TO PROVIDE DOCUMENTATION AND PROGNOSIS RELATING TO DR. WETSELAAR
